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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

X 2l MC 102 (AKH)

Hon. Alvin K. Hellerstein,

IN RE; WoRLD TRADE CENTER LoWER U-S-D-J-

MANHATTAN DISASTER SITE LITIGATION

RULE 7.1 STATEMENT OF
TULLY INDUSTRIES INC

 

Pursuant to Federal Rule of Civil Procedure 7.1 and to enable District Judges and
Magistrate Judges of the Court to evaluate possible disqualification or recusal, the undersigned
counsel for Tully Industries Inc. certifies that Tully Industries Inc. is a privately held company

and that no parent corporation or publicly held corporation owns any interest therein.

Dated: Newark, NeW Jersey PATTON BOGGS LLP
August 6, 2007
By: /s

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